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         16                          UNITED STATES DISTRICT COURT
         17                         CENTRAL DISTRICT OF CALIFORNIA

         18      ARNOLD GOLDSTEIN, et al.,               Case No. 2:17-cv-02477-DSF (SKx)
         19                   Plaintiffs,                PLAINTIFF’S UNOPPOSED NOTICE
                                                         OF MOTION AND MOTION FOR
         20            v.                                APPROVAL OF CLASS NOTICE
         21      EXXON MOBIL CORPORATION, et             Judge: Dale S. Fischer
                 al.,
         22                                              DATE:      June 29, 2020
                              Defendants.                TIME:      1:30 p.m.
         23                                              CRTM:      7D
         24                                              Date of Removal: March 30, 2017
                                                         Second Amended Complaint filed: July 9,
         25                                              2018
         26                                              [Filed concurrently with [Proposed]
                                                         Order]
         27
         28
  SHER           PLAINTIFF’S UNOPPOSED NOTICE OF MOTION AND MOTION FOR APPROVAL OF CLASS NOTICE;
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             1         TO THIS HONORABLE COURT AND TO ALL PARTIES AND
             2   COUNSEL OF RECORD:
             3         PLEASE TAKE NOTICE on that on June 29, 2020 at 1:30 p.m. or as soon
             4   thereafter as the matter can be heard in Courtroom 7D of the United States District
             5   Court for the Central District of California located at 350 West 1 st Street, Los
             6   Angeles, CA 90012, Plaintiff Hany Youseff (“Plaintiff”) will and hereby does move
             7   the Court for entry of an order approving the Notice of Certified Class Action (“Class
             8   Notice”) and proposed plan for distributing the Class Notice to the Class Members
             9   (“Distribution Plan”).
         10            This motion is made following the conference of counsel pursuant to L.R.
         11      7-3 which took place on April 28, 2020. The Parties have met and conferred and
         12      agree regarding the language of the Class Notice and the Distribution Plan.
         13      Defendants Torrance Refining Company LLC and Exxon Mobil Corporation have
         14      reviewed this motion and have indicated that they will not oppose it.
         15            This motion is made on the grounds that the Class Notice and Distribution
         16      Plan meet the requirements of Federal Rule of Civil Procedure 23 and constitutional
         17      due process, as the Class Notice clearly and concisely apprises the Class Members
         18      of their legal rights and is the best practicable notice under the circumstances.
         19            This motion is based on this notice of motion, the accompanying memorandum
         20      and points of authorities, the records, pleadings, and papers filed in this action, and
         21      any other documentary and oral evidence or argument that may be presented at the
         22      hearing on the motion.
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  SHER           PLAINTIFF’S UNOPPOSED NOTICE OF MOTION AND MOTION FOR APPROVAL OF CLASS NOTICE;          i
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             2
                 DATED: May 28, 2020              Respectfully,
             3
                                                  SHER EDLING LLP
             4
             5                              By: /s/ Adam M. Shapiro
                                                Matthew K. Edling
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         10                                       Attorneys for the Plaintiffs

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  SHER           PLAINTIFF’S UNOPPOSED NOTICE OF MOTION AND MOTION FOR APPROVAL OF CLASS NOTICE;   ii
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  SHER           PLAINTIFF’S UNOPPOSED NOTICE OF MOTION AND MOTION FOR APPROVAL OF CLASS NOTICE;                                         iii
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             1               MEMORANDUM OF POINTS AND AUTHORITIES
             2 I.      INTRODUCTION
             3         Pursuant to Federal Rule of Civil Procedure 23(c)(2), Hany Youssef
             4   (“Plaintiff”) moves the Court for entry of an order approving the Notice of Certified
             5   Class Action (“Class Notice”) and proposed plan for distributing the Class Notice to
             6   (“Distribution Plan”). The Parties have met and conferred and agree regarding the
             7   language of the Class Notice and the Distribution Plan, and Defendants Torrance
             8   Refining Company LLC and Exxon Mobil Corporation have stated they will not
             9   oppose this motion.1 Shapiro Decl. ¶ 2. In its Order Granting in Part Plaintiffs’
         10      Renewed Motion for Class Certification, the Court certified a Ground Subclass under
         11      Federal Rule of Civil Procedure 23(b)(3) and an Air Subclass under Rule 23(b)(2).
         12      (Dkt. No. 206). The Class Notice and Distribution Plan provide notice to the Ground
         13      Subclass. Because the Air Subclass was certified under Rule 23(b)(2), absent members
         14      of that subclass need not receive notice. The Class Notice and Distribution Plan meet
         15      the requirements of Federal Rule of Civil Procedure 23 and constitutional due process,
         16      as the Class Notice clearly and concisely apprises the Class Members of their legal
         17      rights and is the best practicable notice under the circumstances, and should therefore
         18      be approved.
         19 II.        STATEMENT OF RELEVANT FACTS
         20            On February 17, 2017, Plaintiff filed this putative class action. Following
         21      discovery and investigation, Plaintiffs moved this Court for Class Certification, and
         22      subsequently renewed this Motion for Class Certification.
         23            On October 15, 2019, this Court granted Plaintiffs’ Renewed Motion for Class
         24      Certification, (Dkt. No. 206), certifying the following classes under Rule 23(c)(4):
         25            • The “Ground Subclass” Subclass, with respect to its claims
         26                for trespass only, which consists of “Persons who currently
         27
                 1
                  The proposed Class Notice is Exhibit 1 to the Declaration of Adam M. Shapiro in Support of
         28
                 Plaintiffs’ Motion for Approval of Class Action Notice (“Shapiro Decl.”).
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             1             own real property within the boundaries of Zones A, B, and
             2             C of the plume maps attached to the declaration of W. Richard
             3             Laton (Dkt. 191- 5, ECF pp. 24-25 (Laton Decl. Exs. 11a-b)),
             4             and who occupy or have a possessory interest in that
             5             property.”
             6         • The “Air” Subclass, with respect to its claims for public and
             7             private nuisance only and against TRC only, which consists
             8             of Persons who currently own or lease real property within
             9             the boundaries of the Contaminated Area, and who currently
         10                occupy said property. The term “Contaminated Area” shall
         11                mean locations where air emissions currently exceed safe
         12                levels or that are known to register as malodorous, which
         13                locations shall be identified in a corrected declaration by
         14                James Clark.”
         15            Following additional expert work, and extensive meet and confer efforts, the
         16      Parties now agree on the proposed Class Notice and Distribution Plan.
         17            The proposed Notice apprises the Ground Subclass of their rights and how their
         18      rights may be exercised. Specifically, the Notice informs the Ground Subclass of: (1)
         19      the persons that qualify as a member of the Ground Subclass; (2) the claims at issue
         20      in the lawsuit; (2) the relief sought, (3) the consequences of remaining in the class, (4)
         21      how to be excluded from the class, and the consequences of being excluded, and (5)
         22      how to obtain additional information. Shapiro Decl. ¶ 2, Ex. 1.
         23            Plaintiff has retained a class action administrator, Rust Consulting, for the
         24      purpose of class notice distribution in this case. Shapiro Decl. ¶ 3. Rust Consulting
         25      has substantial experience in class action claims administration and has successfully
         26      administered thousands of such cases. Id. Within 30 days of approval of the instant
         27      Motion, Rust Consulting will mail the Notice directly to addresses falling within the
         28      Ground Subclass area, as that area is described in the Declaration of W. Richard Laton
  SHER           PLAINTIFF’S UNOPPOSED NOTICE OF MOTION AND MOTION FOR APPROVAL OF CLASS NOTICE;          2
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             1   submitted in support of Plaintiff’s Renewed Motion for Class Certification. Id. ¶ 4.
             2   Approximately 100 properties fall within the class area. Id. Class members can opt out
             3   of the class by mailing their request to Rust Consulting within sixty (60) days after the
             4   Notice is has been sent. Shapiro Decl. ¶ 5, Ex. 1 at 4. Additionally, Rust Consulting
             5   will establish a class website, which will include information and documents including
             6   the Class Notice, the operative complaint, Defendants’ Answer, and the Class
             7   Certification Order. Shapiro Decl. ¶ 5.
             8 III.    ARGUMENT
             9         A.     The Class Notice Clearly and Fairly Apprises Class Members of
         10                   the Nature of this Class Action and the Scope of Their Rights.

         11            Because class members are bound by the results of a Rule 23(b)(3) class action
         12      unless they affirmatively opt out, class notice is required as a matter of constitutional
         13      due process in the Rule 23(b)(3) context. Phillips Petroleum Co. v. Shutts, 472 U.S.
         14      797, 812 (1985), Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 173-74 (1974). To
         15      meet the requirements of Federal Rule of Civil Procedure 23, the class notice should
         16      clearly and fairly apprise class members of the nature of the class action and the
         17      scope of their rights. Pursuant to Rule 23(c)(2)(B), the class notice “must clearly
         18      and concisely state in plain, easily understood language” the following information:
         19
         20            (i) the nature of the action; (ii) the definition of the class certified; (iii)
                       the class claims, issues, or defenses; (iv) that a class member may enter
         21            an appearance through an attorney if the member so desires; (v) that the
         22            court will exclude from the class any member who requests exclusion;
                       (vi) the time and manner for requesting exclusion; and (vii) the binding
         23            effect of a class judgment on members under Rule 23(c)(3).
         24      Fed. R. Civ. P. 23(c)(2)(B)(i)-(vii).
         25            The content of a notice is satisfactory if it generally describes the terms of the
         26      case “‘in sufficient detail to alert those with adverse viewpoints to investigate and to
         27      come forward and be heard.’” Churchill Vill. LLC v. GE, 361 F.3d 566, 575 (9th
         28      Cir. 2004); see also Tierno v. Rite Aid Corp., No. C05-02520 TEH, 2007 WL
  SHER           PLAINTIFF’S UNOPPOSED NOTICE OF MOTION AND MOTION FOR APPROVAL OF CLASS NOTICE;             3
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             1   4166028, at *1 (N.D. Cal. Nov. 16, 2007) (“A class notice must only have
             2   ‘information that a reasonable person would consider to be material in making an
             3   informed, intelligent decision of whether to opt-out or remain a member of the
             4   class.’”).
             5          Here, the proposed Class Notice meets the requirements of Rule 23(c)(2)(B),
             6   as it clearly and concisely states the nature of the action, Plaintiff’s allegations, and
             7   Defendants’ defenses thereto. See Shapiro Decl. Ex. 1. The Class Notice lists each
             8   of the subclasses certified by the Court. Id. The Class Notice also explains what the
             9   Class Members’ legal rights and options are in the lawsuit, what a class action is,
         10      and the binding nature of all Court orders and judgments in the action. Id. Finally,
         11      the Class Notice clearly explains how to request exclusion from the action and the
         12      deadline for doing so. Id. Accordingly, the Class Notice meets the requirements of
         13      Rule 23 and constitutional due process and should therefore be approved.
         14             B.    The Proposed Distribution Plan of Individual Notice by Mail Is
         15                   Reasonable and Should Be Approved.
         16             Pursuant to Federal Rule of Civil Procedure 23(c)(2)(B),

         17             [T]he court must direct to class members the best notice that is
         18             practicable under the circumstances, including individual notice to all
                        members who can be identified through reasonable effort. The notice
         19             may be by one or more of the following: United States mail, electronic
         20             means, or other appropriate means.
         21      Fed. R. Civ. P. 23(c)(2)(B). See also 3 Newberg on Class Actions § 8:3 at 171
         22      (“when the names and addresses of . . . class members were available from the
         23      defendants’ records, and where there is no evidence to show that notice could not be
         24      mailed to each class member, individual notice is clearly the best notice practicable
         25      within the meaning of Rule 23(c)(2) and prior Supreme Court precedent”).
         26             Here, the contact information for the Class Members can be readily identified
         27      based on their home addresses falling within the geographic boundaries of the
         28      certified class as certified by this Court. Since membership in the class is predicated
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             1   on the address and physical location of the members’ properties, this form of notice
             2   is superior to the alternatives and there is no need to identify the names of the class
             3   members. Rust Consulting, the claims administrator, will mail the Notice within 30
             4   days of this Court’s order approving the Notice and Distribution Plan.
             5         Additionally, the Rust Consulting will establish a class website, which will
             6   include information and documents including the Class Notice, the operative
             7   complaint, Defendants’ Answer, and the Class Certification Order.
             8         Class Members can request exclusion from the action by submitting a written
             9   request stating that the Class Member wishes to be excluded from the class. Pursuant
         10      to the Class Notice, the written request must include the individual’s full name,
         11      address, and provide a statement, such as, “I wish to be excluded from the Class”
         12      and the name of the lawsuit, Goldstein v. ExxonMobil Corporation, Case No. 2:17-
         13      cv-02477-DSF-SK.” Further, the request must be signed by the Class Member. See
         14      Shapiro Decl. Ex. 1.
         15            This manner of requesting exclusion satisfies the requirements of Rule 23 and
         16      due process. See Makaeff v. Trump Univ., LLC, No. 10-CV-0940-GPC-WVG, 2015
         17      WL 5638192, at *5 (S.D. Cal. Sept. 21, 2015); see also Patton v. Dollar Tree Stores,
         18      Inc., No. CV1503813MWFPJWX, 2017 WL 8233883, at *3 (C.D. Cal. Apr. 5,
         19      2017).
         20            Class Members shall have 60 days to request exclusion from the class
         21      (“Response Deadline”). Shapiro Decl. ¶ 5, Ex. 1. A 60-day opt-out period provides
         22      sufficient time for Class Members to decide whether to request exclusion, satisfies
         23      due process, and is consistent with timelines approved by other courts. See Pierce
         24      v. Novastar Mortg., Inc., No. C05-5835RJB, 2007 WL 1046914, at *2 (W.D. Wash.
         25      Apr. 2, 2007) (holding that 30 days is a sufficient opt-out period when class members
         26      are not required to file claims, litigation is no more complex than a typical class
         27      action, and class members receive individual notice by mail); Makaeff, 2015 WL
         28      5638192, at *7 (holding that the deadline for exclusion from the class shall be 45
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             1   days after the notice date); Flo & Eddie, Inc. v. Sirius XM Radio, Inc., No. CV13-
             2   5693 PSG (GJSX), 2016 WL 6953462, at *4 (C.D. Cal. June 16, 2016) (finding that
             3   opt-out period which concluded 60 days after mailing of the notice and 39 days after
             4   first publication of the notice would “give[] Class members sufficient time to
             5   consider their options and is consistent with timelines approved by other district
             6   courts in this circuit”); Stuart v. State Farm Fire & Cas. Co., No. 4:14-CV-4001,
             7   2019 WL 2427956, at *7 (W.D. Ark. June 10, 2019) (“The sixty day opt-out period
             8   in the proposed Class Notice Plan provides enough time for class members to decide
             9   whether to opt out of the class.”).
         10            The list of Class Members who requested exclusion from the action shall be
         11      filed with the Court within 30 days of the Response Deadline. Shapiro Decl. ¶ 5.
         12      Plaintiff shall bear the cost of mailing of the Class Notice. Id. ¶ 4.
         13            Accordingly, the proposed Distribution Plan is the best practicable notice
         14      under the circumstances and should therefore be approved.
         15            C.     It Is Unnecessary to Provide Notice to the Air Subclass
         16            The Air Subclass need not receive notice because it was certified under Rule
         17      23(b)(2). Unlike classes certified under Rule 23(b)(3), members of a Rule 23(b)(2)
         18      class do not have the right to opt-out. Ticor Title Ins. Co. v. Brown, 511 U.S. 117,
         19      121, (1994). Under Rule 23(c)(2)(A), notice for a Rule 23(b)(2) is discretionary.
         20      Molski v. Gleich, 318 F.3d 937, 952 (9th Cir. 2003), overruled on other grounds by
         21      Dukes v. Wal-Mart Stores, Inc., 603 F.3d 571 (9th Cir. 2010). “‘Because of the
         22      common interests of all its members, a Rule 23(b)(2) class seeking declaratory and
         23      injunctive relief is cohesive by nature, and notice to a representative class
         24      membership may be considered sufficient.’” Garcia v. Los Angeles Cty. Sheriff's
         25      Dep't, No. CV 09-8943 MMM (SHX), 2015 WL 13646906, at *7 (C.D. Cal. Sept.
         26      14, 2015), quoting Handschu v. Special Servs. Div., 787 F.2d 828, 833 (2d Cir.
         27      1986). Accordingly, courts routinely certify Rule (b)(2) classes without requiring
         28      notice to absent class members. See Martinez v. Hammer Corp., No.
  SHER           PLAINTIFF’S UNOPPOSED NOTICE OF MOTION AND MOTION FOR APPROVAL OF CLASS NOTICE;        6
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             1   CV0906135MMMAGRX, 2010 WL 11520538, at *2 (C.D. Cal. July 30, 2010)
             2   (collecting cases). Consistent with Rule 23(c)(2)(A), the Court should not include
             3   any notice requirements for the absent members of the Air Subclass.
             4 IV.     CONCLUSION
             5         Based on the foregoing argument and authority, Plaintiff respectfully requests
             6   that the Court approve the proposed Class Notice, and order that the Class Notice be
             7   disseminated pursuant to the terms of the proposed Distribution Plan.
             8
             9
         10      DATED: May 28, 2020               Respectfully,
         11                                        SHER EDLING LLP
         12
                                            By: /s/ Adam M. Shapiro
         13                                     Matthew K. Edling
                                                Adam M Shapiro
         14                                     Stephanie D. Biehl
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  SHER           PLAINTIFF’S UNOPPOSED NOTICE OF MOTION AND MOTION FOR APPROVAL OF CLASS NOTICE;        7
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